              Case 19-81834                   Doc           Filed 05/05/20                   Entered 05/05/20 16:43:10                        Desc Main
 Fill in this information to identify the case:                 Document                     Page 1 of 6

 Debtor 1          Jonathan   L Call
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                          __________
 United States Bankruptcy Court for the: Northern District      of __________
                                                           of Illinois
                                                       District

 Case number           19-81834
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: U.S. Bank Trust National Association, as Trustee of the Bungalow Series IV Trust
                   _______________________________________                                                                          4-1
                                                                                                        Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                                 Date of payment change:
 identify the debtor’s account:                                  1
                                                                 ____ 2
                                                                      ____ 6
                                                                           ____ 7
                                                                                ____                    Must be at least 21 days after date       06/01/2020
                                                                                                                                                  _____________
                                                                                                        of this notice


                                                                                                        New total payment:                              1,164.25
                                                                                                                                                  $ ____________
                                                                                                        Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                     580.13
                   Current escrow payment: $ _______________                                          New escrow payment:                   560.44
                                                                                                                                  $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:              _______________%                               New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                          New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                                        New mortgage payment: $ _______________


Official Form 410S1                                                    Notice of Mortgage Payment Change                                                   page 1
            Case 19-81834                      Doc          Filed 05/05/20          Entered 05/05/20 16:43:10                        Desc Main
                                                                Document            Page 2 of 6

Debtor 1         Jonathan     L Call
                 _______________________________________________________                      Case number             19-81834
                                                                                                              (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/S/ Michelle R. Ghidotti-Gonsalves
     _____________________________________________________________
     Signature
                                                                                              Date     05/05/2020
                                                                                                       ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves
                    _________________________________________________________                 Title   Authorized Agent for Secured Creditor
                                                                                                      ___________________________
                    First Name                      Middle Name        Last Name



 Company            Ghidotti-Berger,   LLP.
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                               State       ZIP Code



 Contact phone      949-427-2010
                    ________________________                                                           bknotifications@ghidottiberger.com
                                                                                              Email ________________________
Case 19-81834   Doc   Filed 05/05/20   Entered 05/05/20 16:43:10   Desc Main
                          Document     Page 3 of 6
Case 19-81834   Doc   Filed 05/05/20   Entered 05/05/20 16:43:10   Desc Main
                          Document     Page 4 of 6
Case 19-81834   Doc   Filed 05/05/20   Entered 05/05/20 16:43:10   Desc Main
                          Document     Page 5 of 6
  Case 19-81834      Doc   Filed 05/05/20   Entered 05/05/20 16:43:10     Desc Main
                               Document     Page 6 of 6




                                                     the Court’s ECF program:




DEBTOR
Jonathan L Call
11700 W. Canada Rd
Polo, IL 61064
